Case 2:21-cv-01888-AB Document1 Filed 04/23/21 Page 1 of 4

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

Estate of Abdelrazig Khalil by Kamal Mohamedali : NOTICE OF REMOVAL
Administrator : OF CIVIL ACTION
: UNDER 28 U.S.C. §§ 1441 AND 1446
Vv. : (Diversity Jurisdiction)

Rustam Mursalov, and
Eastern Express, Inc.

 

NOTICE OF REMOVAL OF CIVIL ACTION
UNDER 28 U.S.C. §§ 1441 AND 1446

Defendants, Rustam Mursalov and Eastern Express, Inc (“Moving Defendants”) by and
through their undersigned counsel, hereby submit this Notice of Removal of this action to the
United States District Court for the Eastern District of Pennsylvania pursuant to 28 U.S.C. §
1441. In support of this removal, Moving Defendants state as follows:

1. On April 16, 2021, Plaintiff Estate of Abdelrazig Khalil by Kamal Mohamedali
(“Plaintiff”), commenced a civil action in the Philadelphia County Court of Common Pleas by
way of Writ of Summons against Moving Defendants, which was docketed at No. 210401308.'

2. The state court action was instituted by way of Writ of Summons.

3. While no Complaint has been filed, Plaintiff is believed to seek damages as a
result of an accident that occurred on April 19, 2019 in Skokie, Illinois, Cook County (the
“Accident”).

4. A district court has jurisdiction over cases wherein the plaintiff and defendant are
“citizens of different states” and the amount in controversy as alleged by the plaintiff “exceeds

the sum or value of $75,000.” See 28 U.S.C. § 1332(1).

 

' In accordance with 28 U.S.C. § 1446(a), copies of all pleadings in this case filed in the Philadelphia Court of
Common Pleas are collectively attached hereto as Exhibit “A”.
Case 2:21-cv-01888-AB Document1 Filed 04/23/21 Page 2 of 4

5. 28 U.S.C. §1446(c)(2)(A)(ii) allows for the notice of removal to assert the amount
in controversy “if the initial pleading seeks a money judgment but the State practice . . permits
recovery of damages in excess of the amount demanded.” Pennsylvania simply requires the
amount in controversy be stated within or above compulsory arbitration limits of $50,000.00.

6. Additionally, 28 U.S.C. §1446(c)(2)(B) allows this Court to find, by the
preponderance of the evidence, that the amount in controversy exceeds the amount specified in
section 1332(a).

7. The incident in question resulted in a fatality, which Moving Defendants believe
the amount in controversy to be well over the $75,000.00 threshold.

8. This Court has diversity jurisdiction over this civil action pursuant to 28 U.S.C. §
1332 in that Plaintiffs and all defendants are residents and citizens of different states and the
amount in controversy exceeds $75,000.

9, Plaintiffs, as alleged in the state court action, are citizens of North Carolina.
Kamal Mohamedali, Administrator of the Estate of Abdelrazig Khalil, resides at 5720 Hidden
Lake Drive, Brown Summit, NC 27214.

10. | Moving Defendant Eastern Express, Inc, is a corporation with its principal place
of business in Pennsylvania at 11945 Dumont Rd, Philadelphia, PA 19116.

11. | Moving Defendant Rustam Mursalov is a citizen of Philadelphia and resides at
11945 Dumont Rd, Philadelphia, PA 19116.

12. Plaintiffs thus are residents and citizens of a different state than Moving
Defendants.

13. Pursuant to 28 U.S.C. § 1446(b)(1), the notice of removal of a civil action “shall

be filed within 30 days after receipt by the defendant, through service or otherwise, of a copy of
Case 2:21-cv-01888-AB Document1 Filed 04/23/21 Page 3 of 4

the initial pleading setting forth the claim for relief upon which such action or proceeding is
based.”

14. While Moving Defendants have not been served, undersigned counsel has
entered an appearance on behalf of Moving Defendants on April 23, 2021, and otherwise found
the Writ of Summons in accordance with 28 U.S.C. 28 U.S.C. § 1446(b)(1).

15. Moving Defendants file this Notice of Removal within thirty (30) days of
undersigned counsel’s receipt of Plaintiff's Writ of Summons, and, accordingly, removal is
timely.

16. | Based upon the foregoing, this action is removable to this Court pursuant to 28
U.S.C. §§ 1332 and 1441, based upon diversity of citizenship jurisdiction.

17. ~ Venue for this removal lies in the United States District Court for the Eastern
District of Pennsylvania because Plaintiff commenced his action in Philadelphia County, PA
against residents of the City of Philadelphia. See 28 U.S.C. § 1441 (a).

18. Promptly after filing this Notice of Removal, Moving Defendants will give
written notice of the removal to Plaintiffs through their designated counsel and to the
Philadelphia County Court of Common Pleas, in accordance with 28 U.S.C. § 1446(d).

WHERERFORE, Moving Defendants give notice that the above-described action
pending against them in the Philadelphia County Court of Common Pleas is removed to the

United States District Court for the Eastern District of Pennsylvania.
Case 2:21-cv-01888-AB Document1 Filed 04/23/21 Page 4 of 4

Respectfully submitted,

MOORE PACARO & BROOKS, LLC

 

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